Case 1:18-mc-00167-ABJ Document 52-2 Filed 03/15/19 Page 1 of 4




                            EXHIBIT B


         Christopher Doyle's August 29, 2018 Mechanic's Lien on

              377 Union Street Brooklyn, New York, 11231
Case 1:18-mc-00167-ABJ Document 52-2 Filed 03/15/19 Page 2 of 4



                                                  No. 4318674




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                    NANCY T. SUNSHINE
                   KINGS COUNTY CLERK
         Case 1:18-mc-00167-ABJ Document 52-2 Filed 03/15/19 Page 3 of 4


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                          NOTICE UNDER MECHAIstIC'S LIEN LAW                           AUG 2.9 2018

   To the Clerk of the County of Kings and to others to whom it may concern:     1111111111111108N50110


  PLEASE TAKE NOTICE, that Christopher Doyle as lienor has and .claim a lien on the real
  property hereinafter described as follows:

  377 Union Street, Brooklyn, NY 11231
  Block 429; Lot 65

  (1)The names and residences of the lienor is Christopher Doyle, 48 Doherty Dr., Middletown,
  NJ 07748

  (2)The lien.or's is pro se

 (3)The owner of the real property is McBrooklyn Holdings, LLCand the interest of the owner as
 far as known to the lienor is fee simple.

 (4)The name of the person to whom the lienor famished or is to furnish materials or for whom
 the lienor performed or is to perform professional services is McBrooklyn Holdings, LLC.

 (5)The labor and materials furnished are masonry, carpentry and general contracting services for
 the home renovations

 The agreed price and value of the labor performed and the material furnished is $1,026,656.00

 (6)The amount unpaid to the lienor(s) for said labor performed and said material furnished is
 $100,000.00. The total amount claimed for which this lien is filed is $100,000.00.

(7)The time when the first item of labor and material was furnished was August 1, 2017. The
time when the last item of labor and material was furnished was August 19, 2018.

(8)The property subject to the lien is gituated in the City of Brooklyn, County of Kings,
and State of New York

Known as: Block 429 and Lot 65 on the Kings 'County Tax Assessment Map


That said labor and materials were performed and furnished for and used, and that the
professional services rendered were used, in the improvement of the real property hereinhefore
described. That eight months (four months if a single family dwelling) have not elapsed dating
from the last item of work performed, or from the last items of materials furnished, or since the
completion of the contract, or since the final performance of the work, or since the final
           Case 1:18-mc-00167-ABJ Document 52-2 Filed 03/15/19 Page 4 of 4




     furnishing of the materials for which this lien is claimed.



                                                          Christopher Doyle

     Dated: 7/2   4.lir

  STATE OF NEW YORK, COUNTY OF
                                                                      SS.:


 Christopher Doyle, being duly sworn, says: that deponent is the lienor mentioned in the
 foregoing notice of lien; that deponent has read the said notice and knows the contents thereof,
and that the same is true to deponent's own knowledge, except
                                                                  as to those matters therein stated
to be alleged on information and belief, and that as to those matters deponent believes it to be
true.




Sworn to before me this
day of August 2018




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              DIANA G. HUNG
 4    Notary Public • State of New York
             NO, 01H16310596
       Qualified In Now York County
    My tonimittion Expires Aug 25, 2022
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